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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                                                                  FILED
                                      EASTERN DIVISION                         JUN 2 8 2018
                                                                               U.S. DISTRICT COURT
UNITED STATES OF AMERICA,                       )                            EASTERN DISTRICT OF MO
                                                )                                    ST.LOUIS
              Plaintiff,                        )
                                                )
v.                                              ):
MICHAEL RUDOLPH!,
                                                )


                                                )
                                                    I
                                                        4:18CR572 AGF/NCC
                                                )
                                                )
              Defendant.

                                        INDICTMENT

                                         COUNT ONE
                                         (Wire Fraud)

The Grand Jury charges that:

     1.    At some time unknown to the Grand Jury but by at least the beginning of August

2012 and continuing until at least the end of 2015 ("the relevant timeframe"), the defendant,

Michael Rudolphi ("Rudolphi"), devised a scheme and artifice to defraud and to obtain money

from Accenture Corporation ("Accenture") by means of false and fraudulent promises, pretenses

and representations.

     2.    At all times relative to this indictment, Accenture was a professional consulting firm.

In or about December 2011, Accenture hired Rudolphi as a level 8 consultant based out of its

Saint Louis, Missouri office.

     3.    In August 2012, Rudolphi began a scheme to defraud Accenture by falsely claiming

reimbursement for travel expenses that he had not incurred. As part of the scheme to defraud,

Rudolphi began submitting false claims for training related expenses and supplying falsified

supporting documentation.
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      4.      It was part of the scheme to defraud that Rudolphi created false PayPal email

confirmation receipts along with false documents purportedly showing the cost of training for

reimbursement. These email confirmation receipts generally contained formatting errors and

other inconsistencies, which indicated that the email confirmation receipts were manipulated. It

was further part of the scheme to defraud that Rudolphi created and altered several bank

statements as purported proof of payment for reimbursement.

      5.      It was further part of the scheme to defraud that Rudolphi submitted approximately

150 false PayPal email confirmation receipts for fraudulent travel expenses resulting in a loss of

approximately $195,000 to Accenture during the relevant timeframe.

      6.      On or about November 12, 2015, within the Eastern District ofMi~souri, in

furtherance of the aforesaid scheme to defraud and for the purpose of executing the scheme,

                                      MICHAEL RUDOLPH!,

the defendant, herein, knowingly transmitted and caused to be transmitted by means of wire

communication in interstate commerce, between locations in the State of Virginia and the

Eastern District of Missouri, writings, signs and signals, to wit: a falsified PayPal receipt

claiming reimbursement in the amount of $850.00 for fictitious training, sent to Accenture's

headquarters and generating a reimbursement payment from Accenture's computer servers

located in the State of Virginia while Rudolphi was physically located in the Eastern District of

Missouri.

           In violation of Title 18, United States Code Section 1343.

                                            COUNT TWO
                                            (Wire Fraud)
The Grand Jury further charges that:

     7.       The Grand Jury re-alleges and incorporates by reference Paragraphs 1 through 5 as if
                                                   2
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fully set forth herein.

      8.       On or about October 13, 2015, within the Eastern District of Missouri, in furtherance

of the aforesaid scheme to defraud and for the purpose of executing the scheme,

                                       MICHAEL RUDOLPH!,

the defendant, herein, knowingly transmitted and caused to be transmitted by means of wire

communication in interstate commerce, between locations in the State of Virginia and the

Eastern District of Missouri, writings, signs and signals, to wit: a falsified PayPal receipt

claiming reimbursement in the amount of $995.00 for fictitious training, sent to Accenture's

headquarters and generating a reimbursement payment from Accenture's computer servers

located in the State of Virginia while Rudolphi was physically located in the Eastern District of

Missouri.

      In violation of Title 18, United States Code Section 1343.

                                   FORFEITURE ALLEGATION

The Grand Jury further finds by probable cause that:

           1. Pursuant to Title 18, United States Code, Sections 981(a) and Title 28, United States

Code, Section 2461(c), upon conviction of an offense in violation of Title 18, United States Code,

Section 1343 as set forth in Counts I and II, the defendant shall forfeit to the United States of

America any property, real or personal, constituting or derived from any proceeds traceable to such

violations.

           2. Subject to forfeiture is a sum of money equal to the total value of any property, real or

personal, constituting or derived from any proceeds traceable to said violations, the amount of

which is at least $195,000.



                                                    3
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       3. If any of the property described above, as a result of any act or omission of the

defendant:

               a. cannot be located upon the exercise of due diligence;

               b. has been transferred or sold to, or deposited with, a third party;

               c. has been placed beyond the jurisdiction of the court;

               d. has been substantially diminished in value; or

               e. has been commingled with other property which cannot be divided without

               difficulty,

the United States of America will be entitled to the forfeiture of substitute property pursuant to

Title 21, United States Code, Section 853(p).



                                                      A TRUE BILL.



                                                      FOREPERSON



JEFFREY B. JENSEN
United States Attorney



DIANNA R. COLLINS
Assistant United States Attorney




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